Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF WASHINGTON

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Alaska Logistics LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Alaska Logistics
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  755 S Portland St                                               PO Box 3512
                                  Seattle, WA 98108                                               Seattle, WA 98124-3512
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  King                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       alaska-logistics.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                Case 23-11250-CMA                   Doc 1       Filed 07/07/23            Ent. 07/07/23 14:16:37                Pg. 1 of 23
Debtor    Alaska Logistics LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4841

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 23-11250-CMA                      Doc 1      Filed 07/07/23              Ent. 07/07/23 14:16:37                    Pg. 2 of 23
Debtor    Alaska Logistics LLC                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                 Case 23-11250-CMA                            Doc 1      Filed 07/07/23            Ent. 07/07/23 14:16:37                   Pg. 3 of 23
Debtor   Alaska Logistics LLC                                                          Case number (if known)
         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                Case 23-11250-CMA             Doc 1       Filed 07/07/23         Ent. 07/07/23 14:16:37            Pg. 4 of 23
Debtor    Alaska Logistics LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 7, 2023
                                                  MM / DD / YYYY


                             X   /s/ Allyn Long                                                           Allyn Long
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   General Manager/President




18. Signature of attorney    X   /s/ Faye C. Rasch                                                         Date July 7, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Faye C. Rasch
                                 Printed name

                                 Wenokur Riordan PLLC
                                 Firm name

                                 600 Stewart Street
                                 Suite 1300
                                 Seattle, WA 98101
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     2067240846                    Email address      faye@wrlawgroup.com

                                 50491 WA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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DocuSign Envelope ID: 7B6AD6CE-6989-435E-943E-7E05805188E4




                                                   WRITTEN CONSENT
                                                OF MAJORITY MEMBER OF
                                                 ALASKA LOGISTICS, LLC

                                              RE: CHAPTER 11 BANKRUPTCY

                     The undersigned, being the sole member of Alaska Logistics, LLC, a Washington limited
            liability company (the “Company”), does hereby consent without a meeting to the actions and
            resolutions described below, with the same force and effect as if such actions and resolutions had
            been adopted at a meeting of the members duly called and held on this date:

            WHEREAS, it is in the best interest of the Company to prevent a foreclosure of its assets and to
            be afforded an opportunity to revise the terms of its financing and otherwise reorganize its business
            operations, and it being determined that the preferred course of action for accomplishing those
            goals is to file a Chapter 11 bankruptcy petition;

            NOW THEREFORE, BE IT RESOLVED that the Company be, and hereby is, authorized and
            empowered to file a Chapter 11 bankruptcy in the Western District of Washington, and to retain
            and employ the law firm of Wenokur Riordan PLLC to provide legal services related to the same;
            and it is further

            RESOLVED that Allyn Long, as managing member of the Company, is authorized and directed
            to sign all Chapter 11 bankruptcy documents on behalf of the Company, and to appear and testify
            on behalf of the Company at all scheduled meetings to be conducted in the bankruptcy case; and
            it is further

            RESOLVED that this Consent may be executed in counterparts and transmitted by scanned and
            emailed signatures.
                                        1
                     DATED June ___, 2023.

                                                             _________________________________
                                                             Allyn Long, Sole Member




              Case 23-11250-CMA             Doc 1     Filed 07/07/23   Ent. 07/07/23 14:16:37     Pg. 6 of 23
Fill in this information to identify the case:

Debtor name         Alaska Logistics LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF WASHINGTON

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 7, 2023                    X /s/ Allyn Long
                                                           Signature of individual signing on behalf of debtor

                                                            Allyn Long
                                                            Printed name

                                                            General Manager/President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors




            Case 23-11250-CMA                    Doc 1        Filed 07/07/23             Ent. 07/07/23 14:16:37              Pg. 7 of 23
 Fill in this information to identify the case:
 Debtor name Alaska Logistics LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF                                                                                 Check if this is an
                                                WASHINGTON
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Affordable Storage                                                                                                                                              $70,250.00
 Containers
 1670 Marine View
 Drive
 Tacoma, WA 94722
 Alaska Railroad                                                                                                                                                 $47,479.66
 Corp
 PO Box 100520
 Anchorage, AK
 99510-3515
 American Express                                                                                                                                                $39,648.48
 PO Box 650448
 Dallas, TX
 75265-0448
 Bank of America                                                                                                                                               $112,000.00
 Po Box 30750
 Los Angeles, CA
 90030-0750
 Bristol Alliance                                                                                                                                                $94,045.00
 Fuels, LLC
 PO Box 1529
 Dillingham, AK
 99576
 Bristol Bay Borough                                                                                                                                             $51,922.55
 PO Box 189
 Naknek, AK
 99633-0189
 City of Bethel                                                                                                                                                  $78,043.35
 PO Box 388
 Bethel, AK
 99559-0388
 City of Dillingham                                                                                                                                              $21,343.90
 PO Box 889
 Dillingham, AK
 99576




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1




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 Debtor    Alaska Logistics LLC                                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Covich Williams                                                                                                                                                 $51,867.49
 PO Box 17913
 Seattle, WA
 98127-1913
 Cummins                                                                                                                                                         $30,875.62
 3717 McDougall
 Ave.
 Everett, WA 98201
 JAG                                                                                                                                                           $175,000.00
 PO Box 969
 Seward, AK 99664
 Kenai Peninsula                                                                                                                                                 $24,650.37
 Borough
 Property Tax
 Division
 PO Box 3040
 Soldotna, AK 99669
 Moss-Adams LLP                                                                                                                                                  $43,750.00
 PO Box 101822
 Pasadena, CA
 91189-1822
 PNW Equipment,                                                                                                                                                $160,514.12
 Inc.
 7701 South 200th St
 Kent, WA 98032
 Ream Family LLC                                                                                                                                                 $22,500.00
 PO BOX 80925
 Seattle, WA 98108
 Rick Haskell                                                                                                                                                  $100,000.00
 2205 Maple Valley
 Hwy Apt. 610
 Renton, WA 98057
 Samson Tug and                                                                                                                                                $700,976.50
 Barge
 PO Box 94101
 Seattle, WA
 98124-9406
 Sockeye Point                                                                                                                                                   $21,490.00
 Marine Service
 6000 C Street, Ste
 205
 Anchorage, AK
 99518
 Steve Sauerbrey                                                                                                                                               $100,000.00
 10629 SE 237th
 Kent, WA. 98031
 Kent, WA 98031
 Uresco                                                                                                                                                        $200,000.00
 PO Box 1778
 Kent, WA
 98035-1778


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Western District of Washington
 In re       Alaska Logistics LLC                                                                             Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 80,000.00
             Prior to the filing of this statement I have received                                        $                 58,832.00
             Balance Due                                                                                  $                 21,168.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 7, 2023                                                             /s/ Faye C. Rasch
     Date                                                                     Faye C. Rasch
                                                                              Signature of Attorney
                                                                              Wenokur Riordan PLLC
                                                                              600 Stewart Street
                                                                              Suite 1300
                                                                              Seattle, WA 98101
                                                                              2067240846
                                                                              faye@wrlawgroup.com
                                                                              Name of law firm




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                                                United States Bankruptcy Court
                                                  Western District of Washington
 In re   Alaska Logistics LLC                                                                   Case No.
                                                                    Debtor(s)                   Chapter      11




                                  VERIFICATION OF CREDITOR MATRIX


I, the General Manager/President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is

true and correct to the best of my knowledge.




Date:     July 7, 2023                                  /s/ Allyn Long
                                                        Allyn Long/General Manager/President
                                                        Signer/Title




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                        AFFORDABLE STORAGE CONTAINERS
                        1670 MARINE VIEW DRIVE
                        TACOMA, WA 94722


                        AIRGAS USA, LLC
                        PO BOX 102289
                        PASADENA, CA 91189-2289


                        AK DEP
                        ENVIRONMENTAL CONSERVATION
                        DIVISION OF ADMIN SERVICES
                        PO BOX 111800
                        JUNEAU, AK 99811


                        ALASKA INDUSTRIAL HARDWARE
                        8801 OLD SEWARD HIGHWAY
                        ANCHORAGE, AK 99515


                        ALASKA MARINE COATINGS, LLC
                        PO BOX 2636
                        SEWARD, AK 99664


                        ALASKA NATIONAL INSURANCE CO
                        3030 N 3RD ST
                        PHOENIX, AZ 85012


                        ALASKA RAILROAD CORP
                        PO BOX 100520
                        ANCHORAGE, AK 99510-3515


                        ALASKA RUBBER & RIGGING
                        5811 OLD SEWARD HWY
                        ANCHORAGE, AK 99518


                        ALASKA WASTE
                        PO BOX 196097
                        ANCHORAGE, AK 99519-6097


                        ALLIANCE FUNDING GROUP
                        17542 17TH STREET, STE 200
                        TUSTIN, CA 92780


                        AMERICAN EXPRESS
                        PO BOX 650448
                        DALLAS, TX 75265-0448


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                    ARCTIC WIRE ROPE
                    5811 OLD SEWARD HIGHWAY
                    ANCHORAGE, AK 99518


                    BANK OF AMERICA
                    PO BOX 30750
                    LOS ANGELES, CA 90030-0750


                    BANNER BANK
                    2227 NW 57TH ST
                    SEATTLE, WA 98107


                    BEACON OHSS
                    PO BOX 3852
                    SEATTLE, WA 98124-3852


                    BLANCHARD AUTO ELECTRIC
                    9112 EAST MARGINAL WAY SOUTH
                    SEATTLE, WA 98108-4028


                    BONANZA FUEL
                    PO BOX 1129
                    NOME, AK 99762


                    BRISTOL ALLIANCE FUELS, LLC
                    PO BOX 1529
                    DILLINGHAM, AK 99576


                    BRISTOL BAY BOROUGH
                    PO BOX 189
                    NAKNEK, AK 99633-0189


                    BUOYS-R-US
                    100 W HARRISON ST., SUITE S560
                    SEATTLE, WA 98119-4135


                    C&T FIRE PROTECTION, INC
                    907 E. DOWLING RD., STE 13
                    ANCHORAGE, AK 99518


                    CARLILE
                    PO BOX 84048
                    SEATTLE, WA 98124-8448




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                    CENTRAL WELDING SUPPLY
                    PO BOX 179
                    NORTH LAKEWOOD, WA 98259


                    CHANNEL PARTNERS/EFFI FINANCE
                    11100 WAYZATA BLVD
                    HOPKINS, MN 55305


                    CHARLES TAYLOR MARINE TECH SVCS
                    5868 WESTHEIMER, 1A,
                    HOUSTON, TX 77057


                    CITI CARD
                    PO BOX 790046
                    SAINT LOUIS, MO 63179


                    CITY OF BETHEL
                    PO BOX 388
                    BETHEL, AK 99559-0388


                    CITY OF DILLINGHAM
                    PO BOX 889
                    DILLINGHAM, AK 99576


                    CITY OF NOME
                    102 DIVISIION STREET
                    NOME, AK 99762


                    CITY OF SEATTLE
                    LICENSING & TAX ADMINISTRATION
                    PO BOX 34214
                    SEATTLE, WA 98124-4214


                    CITY OF SEWARD
                    PO BOX 167
                    SEWARD, AK 99664


                    CITY OF SHAKTOOLIK
                    ATTN: ISABELLE JACKSON
                    PO BOX 10
                    SHAKTOOLIK, AK 99771


                    CITY OF UNALASKA
                    ATTN: ACCOUNTS RECEIVABLE
                    UNALASKA, AK 99685


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                    COMCAST BUSINESS CA
                    PO BOX 60533
                    CITY OF INDUSTRY, CA 91716-0533


                    COMCAST BUSINESS PA
                    PO BOX 37601
                    PHILADELPHIA, PA 19101-0601


                    CONTINENTAL WESTERN CORP
                    1232 ANDOVER PARK WEST
                    TUKWILA, WA 98188


                    COVICH WILLIAMS
                    PO BOX 17913
                    SEATTLE, WA 98127-1913


                    CRANE CONSULTANTS, INC.
                    15303 FIRST AVENUE SOUTH
                    BURIEN, WA 98148


                    CRUZ CONSTRUCTION
                    7000 E PALMER WASILLA HIGHWAY
                    PALMER AK 99645


                    CRYSTAL SPRINGS
                    PO BOX 665079
                    DALLAS, TX 75266-0579


                    CUMMINS
                    3717 MCDOUGALL AVE.
                    EVERETT, WA 98201


                    DELTA WESTERN
                    PO BOX 94356
                    SEATTLE, WA 98124-6656


                    DEPARTMENT OF ECOLOGY WA
                    PO BOX 34050
                    SEATTLE, WA 98124-1050


                    DEPARTMENT OF LICENSING WA
                    PO BOX 9020
                    OLYMPIA, WA 98507




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                    DESCARTES SYSTEMS
                    C/O BANK OF AMERICA
                    PO BOX 404037
                    ATLANTA, GA 30384-4037


                    FISHERIES SUPPLY
                    1900 N NORTHLAKE WAY #10
                    SEATTLE, WA 98103


                    FLEET MAINTENANCE SERVICE LLC
                    607 ASH ST
                    SEWARD, AK 99664


                    GC LABELS
                    PO BOX 514
                    STILWELL, KS 66085


                    GCI
                    PO BOX 99001
                    ANCHORAGE, AK 99509-9016


                    GCR TIRE SERVICE
                    1150 E. INT'L AIRPORT RD
                    ANCHORAGE, AK 99518


                    GLACIER CONSTRUCTION SERVICES, INC
                    PO BOX 25
                    NAKNEK, AK 99633


                    GLACIER FAMILY MEDICINE
                    11724 SEWARD HWY SUITE D
                    SEWARD, AK 99664-9708


                    GRAINGER
                    DEPT. 864480231
                    KANSAS CITY, MO 64141-6267


                    GREAT WESTERN PUMP
                    1531 WEST NICKERSON ST.
                    SEATTLE, WA 98119


                    HAMILTON JET, INC.
                    14680 NE WOODINVILLE WAY, STE 100
                    WOODINVILLE, WA 98072



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                    HARDWARE SPECIALTY CO.
                    3419 11TH AVE SW
                    SEATTLE, WA 98134-1007


                    HART HEALTH
                    PO BOX 94044
                    SEATTLE, WA 98124-9444


                    HATTON MARINE
                    4735 SHILSHOLE AVE NW
                    SEATTLE, WA 98107


                    INNOVATIVE SATELLITE SOLUTIONS
                    18012 MILL CREEK DRIVE
                    ROCKVILLE, MD 20855


                    INTERNAL REVENUE SERVICE
                    CENTRALIZED INSOLVENCY
                    PO BOX 7346
                    PHILADELPHIA, PA 19101


                    INTERNAL REVENUE SERVICES
                    915 2ND AVE, M/S W244
                    SEATTLE, WA 98174


                    IQFIJOUAQ COMPANY
                    PO BOX 49
                    EEK, AK 99578


                    JAG
                    PO BOX 969
                    SEWARD, AK 99664


                    JEMCO,INC
                    PO BOX 81181
                    SEATTLE, WA 98108


                    KENAI PENINSULA BOROUGH
                    SALES TAX DIVISION
                    144 NORTH BINKLEY STREET
                    SOLDOTNA, AK 99669-7520




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                    KENAI PENINSULA BOROUGH
                    PROPERTY TAX DIVISION
                    PO BOX 3040
                    SOLDOTNA, AK 99669


                    KIM MARINE DOCUMENTATION
                    180 NICKERSON ST. SUITE 212
                    SEATTLE, WA 98109


                    KING COUNTY TREASURY
                    KING STREET CENTER
                    201 SOUTH JACKSON STREET #710
                    SEATTLE, WA 98104


                    KING COVE BOAT HARBOR
                    PO BOX 37
                    KING COVE, AK 99612


                    LANE POWELL
                    1420 5TH AVE #4200
                    SEATTLE, WA 98101


                    LUNDE MARINE ELECTRONICS
                    5415 24TH AVE NW
                    SEATTLE, WA 98107


                    MARINE CONTAINER (MCS)
                    PO BOX 407
                    SEAHURST, WA 98062


                    MARINE EXCHANGE OF AK
                    1050 HARBOR WAY
                    JUNEAU, AK 99801


                    MATHESON TRI-GAS
                    DEPT. LA 23793
                    PASADENA, CA 91185


                    MC SERVICES LLC
                    204 E 46TH ST
                    TACOMA, WA 98404


                    MILLER NASH LLP
                    2801 ALASKAN WAY, SUITE 300
                    SEATTLE, WA 98121


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                    MINT DENTAL
                    2665 E TUDOR RD #300
                    ANCHORAGE, AK 99507


                    MOSS-ADAMS LLP
                    PO BOX 101822
                    PASADENA, CA 91189-1822


                    MULTIFAB INC.
                    3808 N. SULLIVAN RD. BLDG. #6
                    SPOKANE, WA 99216-1614


                    NAPA AUTO - NOME
                    405 WAREN PLACE, #1269
                    NOME, AK 99762


                    NAPA AUTO - SEWARD
                    BROOKS RANGE KENAI LLC
                    1500 3RD AVE
                    SEWARD, AK 99664


                    NAPA AUTO PARTS
                    FILE # 56893
                    LOS ANGELES, CA 90074-6893


                    NAPAIMUTE
                    PO BOX 1301
                    BETHEL, AK 99559


                    NATHAN ADAMS
                    PO BOX 1590
                    NOME., AK 99762


                    NATIONAL DISCOUNT MERCHANT SVC
                    1140 HIGHLAND AVE #193
                    MANHATTAN BEACH, CA 90266


                    NMFTA
                    1001 NORTH FAIRFAX STREET SUITE 600
                    ALEXANDRIA, VA 22314


                    PACFAB
                    4215 23RD AVE WEST
                    SEATTLE, WA 98199



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                    PHMG
                    401 NORTH MICHIGAN AVE
                    CHICAGO, IL 00066-0611


                    PNW EQUIPMENT, INC.
                    7701 SOUTH 200TH ST
                    KENT, WA 98032


                    PORT OF KODIAK
                    4030 MARINE WAY
                    KODIAK, AK 99615


                    PORTAGE TRANSPORT, INC.
                    PO BOX 1991
                    SEWARD, AK 99664


                    PORTLAND TRACTOR INC.
                    PO BOX 750
                    WASHOUGAL, WA 98671-0750


                    PROVIDENCE SEWARD MEDICAL CENTER
                    PO BOX 196276
                    ANCHORAGE, AK 99519


                    REAM FAMILY LLC
                    PO BOX 80925
                    SEATTLE, WA 98108


                    RICK HASKELL
                    2205 MAPLE VALLEY HWY APT. 610
                    RENTON, WA 98057


                    ROBERT W MADDEN INC.
                    MOONLIGHT SPRINGS
                    116 E 1ST AVE
                    NOME, AK 99762


                    SAFEWAY STORE
                    PO BOX 742918
                    LOS ANGELES, CA 90074-2918


                    SAMSON TUG AND BARGE
                    PO BOX 94101
                    SEATTLE, WA 98124-9406



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                    SBS INC.
                    1308 CHAMBERLAIN RD.
                    SEWARD, AK 99664


                    SEWARD BOAT HARBOR
                    P.O. BOX 167
                    SEWARD, AK 99664


                    SEWARD SHIP'S ACE & MARINE
                    PO BOX 944
                    SEWARD, AK 99664


                    SHORESIDE PETROLEUM, INC
                    PO BOX 1189
                    SEWARD, AK 99664-1189


                    SOCKEYE POINT MARINE SERVICE
                    6000 C STREET, STE 205
                    ANCHORAGE, AK 99518


                    SOURDOUGH EXPRESS, INC
                    PO BOX 73398
                    FAIRBANKS, AK 99707


                    SPIRIT TRANSPORT SYSTEMS
                    8223 SOUTH 222ND ST
                    KENT, WA 98032


                    STEELER CONSTRUCTION SUPPLY
                    10023 M.L.KING JR WAY SOUTH
                    SEATTLE, WA 98178


                    STEVE SAUERBREY
                    10629 SE 237TH KENT, WA. 98031
                    KENT, WA 98031


                    TACOMA SCREW PRODUCTS
                    PO BOX 35165
                    SEATTLE, WA 98124-5165


                    TELALASKA INC.
                    201 E 56TH AVE
                    ANCHORAGE, AK 99518




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                    THE NOME NUGGET, INC.
                    PO BOX 610
                    NOME, AK 99762-0610


                    THE WORK CLINIC
                    PO BOX 69167
                    SEATTLE, WA 98168-1167


                    TRIDENT SEAFOODS
                    PO BOX 229
                    SAND POINT, AK 99661


                    URESCO
                    PO BOX 1778
                    KENT, WA 98035-1778


                    URESCO CONSTRUCTION MATERIALS
                    PO BOX 1778
                    KENT, WA 98035-1778


                    US PRINTING
                    6501 E MARGINAL WAY S
                    SEATTLE, WA 98108


                    WA DEPARTMENT OF REVENUE
                    BANKRUPTCY/CLAIMS UNIT
                    2101 4TH AVE #1400
                    SEATTLE, WA 98121


                    WASHINGTON CHAIN & SUPPLY
                    DEPT. 2351
                    DALLAS, TX 75312-2351


                    WASTE MANAGEMENT
                    PO BOX 3020
                    MONROE, WI 53566-8320


                    WESTERM TOW BOAT
                    617 NW 40TH ST
                    SEATTLE, WA 98107


                    YUKON AVIATION
                    PO BOX 976
                    BETHEL, AK 99559



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                                         United States Bankruptcy Court
                                            Western District of Washington
 In re   Alaska Logistics LLC                                                        Case No.
                                                            Debtor(s)                Chapter     11




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Alaska Logistics LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




July 7, 2023                                   /s/ Faye C. Rasch
Date                                           Faye C. Rasch
                                               Signature of Attorney or Litigant
                                               Counsel for Alaska Logistics LLC
                                               Wenokur Riordan PLLC
                                               600 Stewart Street
                                               Suite 1300
                                               Seattle, WA 98101
                                               2067240846
                                               faye@wrlawgroup.com




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